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13                               UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                            Case No.: 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of            DECLARATION OF A
   themselves and all others similarly situated,             T        IN SUPPORT OF
17               Plaintiffs,
                                                             PLAINTIFFS’ MOTIONS FOR
                                                             PRELIMINARY INJUNCTION
18        v.                                                 AND PROVISIONAL CLASS
                                                             CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4340026.1]
                   DECLARATION OF A    T       IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                      PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, A     T        , declare:
 2                 1.      I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.      I have been incarcerated at FCI Dublin since December 2021. I left for a few
 6 months and came back to FCI Dublin around September 2022. In the future BOP may
 7 transfer me to other BOP facilities, but at any point I could be transferred back to FCI
 8 Dublin.
 9                 3.      FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of serious harm from
12 sexual assault, harassment, and retaliation from staff.
13                 4.      When I came back to FCI Dublin I was sexually harassed by Officer Cooper.
14 This happened shortly after I came back to FCI Dublin, between approximately September
15 23, 2022 and October 9, 2022. Around 8:30 pm I was in the shower and Officer Cooper
16 came by and hit the curtain so it opened and I was exposed. I froze facing towards the
17 shower and did not know what to do. I stood there for approximately three to four minutes
18 and then said “hello?” and Officer Cooper responded, “where is your bunkie at?” It was
19 then I realized he had been standing there with the curtain open the whole time.
20                 5.      I went to my room to change and he followed me and looked into my
21 window into my room while I was changing. When I say him I said “hey I am changing”
22 and he just again asked where my bunkie was. It was incredibly degrading to be treated
23 this way and watched while I was naked and changing.
24                 6.      There is no effective way to confidentially report sexual assault and abuse by
25 staff at FCI Dublin. I was afraid to report Officer Cooper because I was afraid I would be
26 retaliated against. People keep saying we are lying but we are, I am telling the truth.
27                 7.      Staff at FCI Dublin also prevent people from reporting sexual assault and
28 abuse by staff and retaliate against people who do report. I am afraid to deal with staff. We
     [4340026.1]                                           2
                        DECLARATION OF A    T       IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                           PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
        Case 3:23-cv-04155-YGR Document 10-24 Filed 08/17/23 Page 3 of 4




 1 are constantly getting new staff and each new staff person comes with their own new rules.
 2 Staff will falsify records and put whatever dates they want on them. I know because I have
 3 received copies of my records with dates that did not make any sense. I submitted a
 4 grievance once and staff did not give me the response until several months after my
 5 deadline to appeal it. Ever since officers started getting walked off it has been non-stop
 6 retaliation. I have never faced anything like this.
 7                 8.      There is little to no confidential mental health care available to survivors of
 8 sexual abuse and assault at FCI Dublin. I have anxiety, depression, and OCD. Staff took
 9 me off my medications cold turkey and I asked to see a psychiatrist and am still waiting a
10 year later. They do not do anything to help us.
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     [4340026.1]                                           3
                        DECLARATION OF A    T       IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                           PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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